         Case:21-01164-EEB Doc#:18 Filed:02/16/22                                          Entered:02/16/22 22:15:00 Page1 of 2
                                                              United States Bankruptcy Court
                                                                   District of Colorado
The Newell Mowing Co.,
      Plaintiff                                                                                                        Adv. Proc. No. 21-01164-EEB
Kabbage, Inc.,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 1082-1                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Feb 14, 2022                                               Form ID: pdf904                                                            Total Noticed: 3
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 16, 2022:
Recip ID                 Recipient Name and Address
                         C T CORPORATION SYSTEM, c/o American Express Kabbage, Inc., 7700 East Arapahoe Road, Suite 220, Centernnial, CO 80112-1268
                       + CORPORATION SERVICE COMPANY, c/o Kabbage, Inc., 1900 West Littleton Boulevard, Littleton, CO 80120-2023

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
dft                       Email/Text: bankruptcy@kservicing.com
                                                                                        Feb 15 2022 00:43:00      Kabbage, Inc., 730 Peachtree Street NE, Suite
                                                                                                                  1100, Atlanta, GA 30308

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 16, 2022                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 14, 2022 at the address(es) listed
below:
Name                               Email Address
Joshua Sheade
                                   on behalf of Plaintiff The Newell Mowing Co. joshua@berkencloyes.com calley@ecf.courtdrive.com


TOTAL: 1
Case:21-01164-EEB Doc#:18 Filed:02/16/22              Entered:02/16/22 22:15:00 Page2 of 2



                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

    IN RE:
                                                     Case No. 20-17988 EEB
    THE NEWELL MOWING CO.
                                                     Chapter 11
                                                     (Subchapter V)
                                 Debtor.

    THE NEWELL MOWING CO.,
                                                     Adversary No. 21-01164 EEB
                                 Plaintiff,
    v.
    KABBAGE, INC.,
                                 Defendant.

             ORDER GRANTING MOTION FOR CLERK’S ENTRY OF DEFAULT


           THIS MATTER having come before the Court on the Plaintiff’s Motion for Default
   Judgment (“Motion”) against Kabbage, Inc. (“Defendant”), as filed by The Newell Mowing Co.
   (“Plaintiff”) on February 11, 2022. The Court having reviewed the Motion, and being otherwise
   sufficiently advised in the premises, does hereby

          ORDER that the Motion is GRANTED. Therefore, Court does hereby

           FURTHER ORDER that judgment shall enter against Kabbage, Inc., whereby authorizing
   the Plaintiff to avoid the UCC-1 Financing Statement filed by Kabbage with the Colorado Secretary
   of State on September 23, 2019; avoid the creation of any security interest in favor of Kabbage
   against any property of Newell and/or the bankruptcy estate, pursuant to 11 U.S.C. § 544(a);
   preserve any lien and/or security interest created by the eight (8) certain and specific Kabbage
   Business Loan Agreement(s) executed by the Plaintiff in favor of the Defendant from September
   14, 2017 through April 5, 2019 for the benefit of the bankruptcy estate, pursuant to 11 U.S.C. §
   551; and treat the Defendant as the holder of an allowed unsecured claim in accordance with the
   Second Amended Plan of Reorganization for Small Business Under Subchapter V of Chapter 11
   Dated July 6, 2021.




               February 14, 2022
